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IN RE
SCORPION FITNESS, INC et al Bankruptcy Case
No. 19 11321
JOHN SHAMS (Appellant)
Vv 20-Civ 6139

DE LAGE LANDEN
FINANCIAL SERVICES

 

APPELLATE’S MOTION FOR VOLUNTARY DISMISSAL OF APPEAL

Pursuant to Rule 42(b) of the Federal Rules of Appellate Procedure, Appellant
hereby move to dismiss this appeal in Case 20-CV 6953. The appeal is mooted.

New York, NY
October 3, 2020

 

Respectfully,
Appellant is advised that this appeal is closed and has
already been dismissed per the order at ECF No. 4. John Shams
/s/ JOHN SHAMS
SO ORDERED. 325 Fifth Avenue
New York, NY 10016
Dated: November 5, 2020 912 592 3492
New York, New York johnzarium@ gmail.com
ANALISA TORRES

United States District Judge
